
The Supreme Court affirmed the judgment of the Common Pleas on February 5, 1883, in the following opinion :
Per Curiam.
The Court affirmed the point of plaintiff, that a ship-broker can recover commissions 'only where he effects a valid and binding contract, and cannot if there was a failure in any essential condition. There was no error in further saying substantially that if he brought the parties together whereby a contract was made, it was such a performance of the beneficial service as to entitle him to his commissions. If the active effort of the broker in that behalf resulted in the making of a charter-party, it was a sufficient completion of the undertaking to permit him to recover; Keys vs. Johnson, 68 Pa., 42; Reed’s Exs. vs. Reed, 82 Pa., 420. There is no cause for reversal.
Judgment affirmed.
